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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT


JOHN J. CARNEY. IN HIS CAPACITY AS
COURT-APPOINTED RECEIVER, FOR                    Case No. 12-CV-00182-SRU
HIGHVIEW POINT PARTNERS, LLC;
MICHAEL KENWOOD GROUP, LLC, MK
MASTER INVESTMENTS LP, MK
INVESTMENTS, LTD., MK OIL VENTURES
LLC, MICHAEL KENWOOD CAPITAL
MANAGEMENT, LLC, MICHAEL KENWOOD
ASSET MANAGEMENT. LLC, MK ENERGY
AND INFRASTRUCTURE, LLC, MKEI SOLAR
LP, MK AUTOMOTIVE, LLC, MK
TECHNOLOGY, LLC. MICHAEL KENWOOD
CONSULTING, LLC, MK INTERNATIONAL
ADVISORY SERVICES, LLC, MKG-
ATLANTIC INVESTMENT, LLC, MICHAEL
KENWOOD NUCLEAR ENERGY, LLC,
MYTCART, LLC, TUOL, LLC, MK CAPITAL
MERGER SUB, LLC. MK SPECIAL
OPPORTUNITY FUND, MK VENEZUELA,
LTD AND SHORT TERM LIQUIDITY FUND I,
LTD.,

                       Plaintiff,

          v.

FRANK LOPEZ, CAROLINA LOPEZ PELAEZ.
CARLOS MANUEL BARRANTES ARAYA.
CHRISTOPHER LUTH and VICTOR CHONG.

                       Defendants.               May 21.2015


  STIPULATION AND ORDER FOR VOLUNTARY DISMISSAL WITH PREJUDICE
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4l(a)(1)(A)(ii)

      Plaintiff John J. Carney. as court-appointed Receiver for Highview Point Partners LLC.

Michael Kenwood Group, LLC, et al. ("Receiver"), by and through his counsel, Baker &

Hostetler LLP and Defendant Christopher Luth, by and through his counsel, Finn Dixon &
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Herling LLP (the ••Defendant") (collectively, the "Parties"), hereby stipulate pursuant to Federal

Rule of Civil Procedure 41 (a)( 1)(A)(ii) to the following:

        t.      On February 3, 2012, the Receiver filed and served the Complaint against the
                                                                                   1
Defendant and others, which was subsequently amended on June 22,2012.

        2.      In accordance with Federal Rule of Civil Procedure 4l(a)(l)(A)(ii), the Parties

hereby stipulate to a dismissal with prejudice of all of the Receiver's claims against the

Defendant in the above-captioned matter as they have resolved the disputes between them

without need for further litigation.

        3.      The provisions of this Stipulation shall be binding upon and inure to the benefit of

the Parties and their respective successors and assigns.

                                                         PLAINTIFF.JOHN.l CARNEJ: AS
                                                         RECEIVER FOR HIGHVIEW POINT
                                                         PARTNERS, LLC, MICHAEL KENWOOD
                                                         GROUP,
                                                              /'r
                                                                        AL

                                           By:
                                                         Jonathan B. New (P V04633) / l/
                                                         Robertson D. Beckerlegge (ph~£'Y'76)
                                                         BAKER & HOSTETLER LLP
                                                         45 Rockefeller Plaza
                                                         New York. NY 10111
                                                         jnew@bakerlaw.com
                                                         rbeckerlegge@bakerlaw.com
                                                         Tel: (212) 589-4200
                                                         Fax: (212) 589-4201




    Defendant Victor Chong was dismissed with pr~judice by this Court on March L I, 2014 (DE Ill). Defendants
Frank Lopez, Carolina Lopez Pelaez and Carlos Barrantes-Araya were dismissed with prejudice by this Court on
April 17,2015 (DE 145).




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                                       DEFENDANT CHRISTOPHER LUTH

                             By:          ~"t'~/~
                                       Alfred U. Pavlis, Esq. (ct08603)
                                       Michael Q. English (ct29019)
                                       FINN DIXON & HERLING LLP
                                       177 Broad Street
                                       Stamford, CT 06901
                                       apavlis@fdh.com
                                       Tel: (203) 325-5000
                                       Fax: (203) 325-5001




IT IS SO ORDERED.

Date: _ _ _ _ _ _ _ , 2015
                                         STEFAN R. UNDERHILL
                                         UNITED STATE DISTRICT JUDGE




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